                          Case 18-11736-BLS              Doc 12       Filed 07/29/18         Page 1 of 23




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

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                                                                        :
         In re:                                                         :    Chapter 11
                                                                        :
         HERITAGE HOME GROUP LLC, et al.,                               :    Case No. 18-11736 (____)
                                                                        :
                           Debtors.1                                    :    (Joint Administration Requested)
                                                                        :
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                         DECLARATION OF ROBERT D. ALBERGOTTI IN SUPPORT
                          OF CHAPTER 11 PETITIONS AND FIRST-DAY MOTIONS

                           I, Robert D. Albergotti, hereby declare under penalty of perjury that the following

         is true and correct:

                           1.       I am a Managing Director in the Global Turnaround and Restructuring

         Group of AlixPartners LLP, an affiliate of AP Services, LLC (“APS”), and the Interim Chief

         Financial Officer (“CFO”) and Chief Restructuring Officer (“CRO”) of Heritage Home Group,

         LLC (“Heritage”) and its affiliated debtors and debtors in possession (collectively, the

         “Debtors,” and collectively with their non-Debtor affiliates, the “Company”). I have been

         working with the Debtors since late September 2017 when APS was retained by the Debtors to

         assist them as financial advisors. Subsequent to my engagement, I was appointed CFO on

         October 27, 2017 when the prior CFO needed to leave the Company. On July 26, 2018, the

         Debtors and APS entered into a new engagement agreement, pursuant to which APS would

         provide certain temporary employees to the Debtors to assist them with their anticipated

         restructuring efforts. The Debtors retained me as CRO on July 13, 2018.

         1
           The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number, as
         applicable, are: Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc.
         (7206); HHG Real Property LLC (3221); and HHG Global Designs LLC (1150). The Debtors’ corporate
         headquarters is located at 1925 Eastchester Drive, High Point, North Carolina 27265.

01:23390601.14
                       Case 18-11736-BLS          Doc 12       Filed 07/29/18   Page 2 of 23




                        2.      Through my work with the Debtors, I have become familiar with the

         Debtors’ operations, day-to-day business affairs, and books and records.             I submit this

         declaration (“Declaration”) to assist the Court and parties-in-interest in gaining an

         understanding of the circumstances that led to the commencement of these chapter 11 cases

         (collectively, the “Chapter 11 Cases”), and in support of the Debtors’ petitions and motions

         requesting various types of “first day” relief (collectively, the “First Day Motions”).

                        3.      On the date hereof (the “Petition Date”), each of the Debtors filed a

         voluntary petition with the Court for relief under chapter 11 of title 11 of the United States Code,

         11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”). The Debtors continue to operate their

         businesses and manage their properties as debtors in possession pursuant to sections 1107 and

         1108 of the Bankruptcy Code. The Debtors have filed a motion seeking joint administration of

         the Chapter 11 Cases pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

         No trustee or examiner has been appointed in the Chapter 11 Cases. As of the date hereof, no

         creditors’ committee has been appointed.

                        4.      Except as otherwise indicated herein, the facts set forth in this Declaration

         are based upon my personal knowledge, my review of relevant documents, my discussions with

         members of the Debtors’ senior management, and information provided to me by the team

         working under my supervision or the Debtors’ other professional advisors, including Young

         Conaway Stargatt & Taylor, LLP, counsel to the Debtors, and Houlihan Lokey Capital, Inc.

         (“Houlihan”), the Debtors’ investment banker. If I were called upon to testify, I would testify

         competently to the facts set forth herein.

                        5.      As described in further detail below, the Debtors have filed the Chapter 11

         Cases to maximize the value of their estates for the benefit of all their stakeholders through the


01:23390601.14
                                                           2
                       Case 18-11736-BLS          Doc 12       Filed 07/29/18    Page 3 of 23




         sale of their business units and remaining assets. Headquartered in High Point, North Carolina

         and with operations in various other domestic and international locations, the Company is a

         world leader in designing, manufacturing, sourcing, and retailing home furnishings.              The

         Company markets its products through a wide range of channels, including company-owned

         Thomasville retail stores, interior design partners, multi-line/independent retailers, and mass

         merchant stores. The Company also distributes its products internationally through a number of

         partnerships with key wholesale channels in a variety of markets, and sells branded and private

         label products to certain governmental and hospitality customers, both domestically and around

         the world.

                        6.      Unfortunately, due to the challenges discussed herein, the Debtors have

         found themselves unable to satisfy the obligations under the Prepetition Credit Facilities (as

         defined below) and are facing near-term liquidity issues. To address these challenges, the

         Debtors and their professional advisors, after considering all available strategic options, have

         determined that the best course to maximize the value of the Debtors’ estates is to sell their

         business units and remaining assets through the Chapter 11 Cases.

                        7.      I am authorized by the Debtors to submit this Declaration. I am familiar

         with the contents of each First Day Motion (including the exhibits to such motions) and believe

         that the relief sought in each First Day Motion: (i) will enable the Debtors to transition into

         chapter 11 without a deleterious effect on the value of the Debtors’ business units; (ii) is critical

         to the Debtors’ efforts to maximize value through the Chapter 11 Cases; and (iii) best serves the

         interests of the Debtors’ estates and creditors. It is my further belief that the relief sought in the

         First Day Motions is, in each case, narrowly tailored and necessary to achieve the goals

         identified above.


01:23390601.14
                                                           3
                       Case 18-11736-BLS          Doc 12       Filed 07/29/18    Page 4 of 23




                        8.      Part I of this Declaration provides an overview of the Debtors’ businesses.

         Part II provides a description of the Debtors’ capital structure. Part III provides a discussion of

         the events that compelled the commencement of the Chapter 11 Cases. Part IV addresses the

         Debtors’ strategy to maximize the value of their business units. Part V affirms and incorporates

         the facts that support the relief requested in the First Day Motions.

                                                        Part I

                                         THE COMPANY’S BUSINESS

         A.      History and Overview

                        9.      Heritage was formed by an affiliate of KPS Capital Partners, LP (“KPS”)

         in November 2013 to acquire the brand portfolio and certain related assets of Furniture Brands

         International, Inc. (“Furniture Brands”).

                        10.     Furniture Brands was formed in 1996 to bring together the Thomasville,

         Broyhill, and Lane furniture companies and eventually others, reaching peak levels of success in

         the early 2000s, during which time it was generating over $2.0 billion in annual sales. As the

         decade progressed however, Furniture Brands dropped significant market share, and saw revenue

         decline every year from 2007 until 2013, when Furniture Brands commenced bankruptcy

         proceedings before the Court to sell substantially all of its assets. See In re FBI Wind Down, Inc.

         (f/k/a Furniture Brands Int’l, Inc.), Case No. 13-12329 (CSS).           For the 12-month period

         immediately prior to the Heritage acquisition, Furniture Brands generated sales of approximately

         $940 million and negative EBITDA of approximately $58 million. On November 22, 2013, the

         Court approved the sale of Furniture Brands’ assets to Heritage for $280.0 million (subject to

         working capital adjustments). The brands purchased by Heritage from Furniture Brands, which




01:23390601.14
                                                           4
                        Case 18-11736-BLS         Doc 12       Filed 07/29/18    Page 5 of 23




         are discussed in greater detail below, included Thomasville, Broyhill, Lane, Drexel Heritage,

         Henredon, Pearson, Hickory Chair, Lane Venture, and Maitland-Smith.

                        11.     The Company’s brand portfolio includes some of the best known and most

         respected brands in the furniture industry, with each of the brand’s origins tracing back to the

         early 1900s.

         B.      The Brands

                        12.     Through its brands, the Company offers customers a wide array of home

         furnishings, including (i) case goods, consisting of bedroom, dining room, and living room

         furniture, (ii) stationary upholstery products, consisting of sofas, loveseats, sectionals, and chairs,

         (iii) motion upholstered furniture, consisting of reclining upholstery and sleep sofas,

         (iv) occasional furniture, consisting of wood, metal and glass tables, accent pieces, home

         entertainment centers, and home office furniture, and (v) decorative accessories and accent

         pieces. The brands are featured in nearly every price and product category in the residential

         furniture industry, and are also distributed through agreements with the United States

         government, as well as hotels and resorts around the world.

                        13.     The Company currently operates across three distinct business units.

         These units are: (i) Thomasville & Co., which is comprised of Thomasville, Drexel, and

         Henredon; (ii) the Luxury Group, which is comprised of Hickory Chair, Pearson, and Maitland-

         Smith; and (iii) Broyhill. A description of each business unit follows.

                        14.     Thomasville & Co. Thomasville, founded in 1904, Drexel, founded in

         1903, and Henredon, founded in 1945, are three of the most well-known brands in the home

         furnishings industry. These three brands were formally organized as a stand-alone business unit

         under Thomasville & Co. to complement one another in a coordinated selling approach to the


01:23390601.14
                                                           5
                          Case 18-11736-BLS              Doc 12        Filed 07/29/18        Page 6 of 23




         premium home furnishings market. Thomasville is considered a more classic American brand,

         Drexel focuses on producing more contemporary furniture with modern designs, and Henredon

         markets its style and sophistication, incorporating hand and detail work.

                           15.      Thomasville & Co. operates today through two segments: Thomasville &

         Co. Residential focused on consumer channels (i.e., retail, wholesale, and select e-commerce

         partner channels); and Thomasville & Co. Contract focused on government and hospitality

         channels. Thomasville & Co. Residential products have broad distribution channels throughout

         the United States, China, and Japan through legacy franchise locations,2 premium furniture

         stores, department stores, an owned retail store network, and a portfolio of licensing agreements

         with major retailing partners. Thomasville & Co. Contract serves the United States government,

         as well as hotels and resorts around the world.

                           16.      The Luxury Group. Hickory Chair, founded in 1911, has been crafting

         fine furniture for the past 95 years. Pearson, founded in 1941, and Maitland-Smith, founded in

         1979, function as complementary brands to Hickory Chair.                        Pearson offers finely tailored

         upholstered furniture in the premium-price category, and Maitland-Smith designs and

         manufactures premium hand-crafted, antique-inspired furniture, accessories, and lighting.

                           17.      The Luxury Group reaches a wide array of customers domestically and

         abroad through two distinct channels—Interior Design and Wholesale Retail. The Luxury Group

         has twelve interior design-focused sales professionals covering the domestic market, and

         maintains five designer trade showrooms across the United States that feature an assortment of




         2
            Heritage does not operate a franchise program; however, as part of the Chapter 11 purchase in 2013 it allowed
         certain retail partners to maintain the use of the Thomasville brand for their retail stores. These stores are known as
         the “legacy franchises.”

01:23390601.14
                                                                   6
                            Case 18-11736-BLS              Doc 12        Filed 07/29/18       Page 7 of 23




         Hickory Chair, Pearson, and Maitland-Smith pieces.3 The wholesale retail channel has five

         dedicated retail sales professionals, and a network of agents for international distribution.

                             18.      Broyhill. Broyhill began in 1926 as The Lenoir Chair Company. Through

         the years, Broyhill had grown through acquisitions of local furniture factories and internally

         generated expansion. Broyhill creates high-quality furniture that is designed to be lived in,

         combining the latest styles with everyday practicality in a way that complements today’s busy

         lifestyles. Broyhill offers collections of mid-priced furniture, including both wood furniture and

         upholstered products, in a wide range of styles and product categories including bedroom, dining

         room, living room, occasional, home office, and home entertainment. Broyhill products are sold

         through internet retailers and other department and outlet stores.

         C.         Organizational Structure

                             19.      HH Global II B.V. (“HH Global”) is the direct or indirect parent of each

         of the other Debtors and the non-Debtor subsidiaries located in the Netherlands, Mexico, China,

         Hong Kong, Indonesia, Philippines, Malaysia, and Vanuatu.4 HH Group Holdings US, Inc.

         (“HH Group”), a subsidiary of HH Global, is the direct parent of Heritage, HHG Real Property

         LLC, and HHG Global Designs LLC. Attached hereto as Exhibit A is a summary of the

         Company’s organizational structure.

                                                                 Part II

                                          PREPETITION CAPITAL STRUCTURE

                             20.      As of the Petition Date, the Debtors have approximately $280.0 million in

         outstanding secured and unsecured debt obligations.                      The Debtors’ primary funded debt


         3
             The Luxury Showrooms also offer the Debtors’ other brands for sale, as well as select third-party brands.
         4
             The Company also has a branch office in Vietnam.

01:23390601.14
                                                                     7
                       Case 18-11736-BLS          Doc 12       Filed 07/29/18    Page 8 of 23




         obligations consist of: (i) a prepetition asset-based revolving facility (the “Prepetition ABL

         Facility”) for which PNC Bank, National Association (“PNC”) serves as agent (in such capacity,

         the “ABL Agent”) for the prepetition lenders party thereto (as party thereto from time to time,

         the “ABL Lenders”), and (ii) a prepetition term loan facility (the “Prepetition Term Loan

         Facility”) for which KPS Special Situations Fund III (A), L.P. serves as agent (in such capacity,

         the “Term Loan Agent”) for the prepetition lenders party thereto (as party thereto from time to

         time, the “Term Loan Lenders”). The significant liabilities of the Debtors are described in

         greater detail below.

         A.       Prepetition Funded Debt

                 i.     Prepetition ABL Facility

                        21.      On March 13, 2017, Heritage entered into the Prepetition ABL Facility

         through that certain ABL Credit Agreement (as amended, restated, modified, supplemented, or

         replaced from time to time, the “Prepetition ABL Agreement”), by and among Heritage, the

         ABL Lenders, and the ABL Agent.            The Prepetition ABL Facility was used to refinance

         Heritage’s then-existing revolving credit facility and to add a $17.5 million intellectual property

         loan and an additional advance on finished goods and third-party inventory in transit. The ABL

         Lenders agreed to provide the Debtors with this additional liquidity in light of, among other

         things, the agreement of KPS, as Term Loan Lender, to subordinate its security interests over

         substantially all of the non-working capital assets of the Debtors to the ABL Lenders’ liens and

         security interests (while retaining a second priority lien over substantially all of the assets of the

         Debtors), thereby significantly enhancing the ABL Lenders’ collateral position.

                        22.      The Prepetition ABL Facility is a three-year asset-based revolving credit

         facility that permits borrowings in an aggregate amount outstanding not to exceed $105.0

         million, subject to a borrowing base of certain accounts receivable and inventory less a $12.5
01:23390601.14
                                                           8
                       Case 18-11736-BLS        Doc 12       Filed 07/29/18     Page 9 of 23




         million reserve and other reserves established by the ABL Agent in its reasonable credit

         judgment. All borrowings under the Prepetition ABL Facility are guaranteed by HH Global, HH

         Group, and Heritage’s domestic subsidiaries, and are secured by (i) a first priority lien on

         substantially all of the assets of Heritage and the guarantors (the “ABL Collateral”) and (ii) a

         second priority lien on the remaining assets of Heritage and the guarantors (the “Term

         Collateral” and together with the ABL Collateral, the “Collateral”).

                        23.    The interest rate on cash borrowings outstanding under the Prepetition

         ABL Facility is either: a base rate (the greater of the prime rate, Federal Funds Rate plus 0.50%,

         and LIBOR) or LIBOR plus the applicable margin. The applicable margin for borrowings under

         the Prepetition ABL Facility ranges from 4.25% to 5.0% for base rate borrowings and 5.25% to

         6.0% for LIBOR borrowings.        Amounts repaid under the Prepetition ABL Facility, unless

         accompanied by a permanent reduction in commitments, may be re-borrowed.

                        24.    To further support the business and provide additional liquidity, the parties

         to the Prepetition ABL Agreement entered into that certain Second Amendment to ABL Credit

         Agreement (the “Second Amendment”) on October 25, 2017. Among other things, the Second

         Amendment provided that the ABL Agent, as seller, and KPS Special Situations Fund III, LP,

         KPS Special Situations Fund III (A), L.P., and KPS Special Situations Fund III (Supplemental),

         LP, as purchasers (collectively, the “Last Out Participants”) would enter into a participation

         agreement (the “Participation Agreement”) that provided that the Last Out Participants would

         purchase a last out participation in the Prepetition ABL Facility in the aggregate amount of $15.0

         million. On October 25, 2017, the ABL Agent and Last Out Participants entered into the

         Participation Agreement.




01:23390601.14
                                                         9
                       Case 18-11736-BLS         Doc 12     Filed 07/29/18     Page 10 of 23




                        25.     In June 2018, in accordance with the Prepetition ABL Agreement, the

         ABL Lenders subjected the Debtors to a cash-dominion structure, whereby all cash held at in the

         Debtors’ master concentration account at PNC is swept up on a daily basis into an account

         maintained by the ABL Agent. In this cash-dominion structure, the Debtors are required to re-

         borrow cash from the ABL Lenders on an as-needed basis to make disbursements out of the

         master operating account.

                        26.     As of the Petition Date, the aggregate amount of all obligations owing by

         Heritage to the ABL Lenders under and in connection with the ABL Credit Agreement was not

         less than $83,432,557, which includes revolving loans outstanding under the Pre-Petition Credit

         Agreement and outstanding letters of credit in the aggregate amount of $805,000.

                 ii.    Prepetition Term Loan Facility

                        27.     On November 25, 2013, Heritage entered into the Prepetition Term Loan

         Facility through that certain Term Loan Credit Agreement (as amended, restated, modified,

         supplemented, or replaced from time to time, the “Prepetition Term Loan Agreement”), by

         and among Heritage, the Term Loan Lenders, and the Term Loan Agent.

                        28.     The full amount of the Prepetition Term Loan Facility, $100.0 million,

         was borrowed on November 25, 2013. However, through amendments to the Prepetition Term

         Loan Credit Agreement, the maximum borrowings under the Prepetition Term Loan Facility

         were increased to approximately $137.8 million. Subject to certain exceptions, all borrowings

         under the Prepetition Term Loan are guaranteed by HH Global, HH Group, and Heritage’s

         domestic subsidiaries, and are secured by (i) a first priority lien on the Term Collateral and (ii) a

         second priority lien on the ABL Collateral.

                        29.     The Term Loan matures on September 9, 2020, and the interest rate is tied

         to the prime rate. To provide the Company with additional liquidity, beginning in November
01:23390601.14
                                                          10
                         Case 18-11736-BLS       Doc 12     Filed 07/29/18     Page 11 of 23




         2013, KPS, as Term Loan Lender, voluntarily agreed that interest on the Term Loan would be

         paid-in-kind, rather than in cash. The Prepetition Term Loan Facility may be prepaid, in whole

         or in part, prior to the maturity date without a prepayment premium. Amounts repaid under the

         Prepetition Term Loan Facility may not be re-borrowed.

                          30.    As of the Petition Date, the aggregate amount of all obligations owing by

         Heritage to the Term Loan Lenders under and in connection with the Prepetition Term Loan

         Agreement was not less than $167,401,802.

                 iii.     The Prepetition Intercreditor Agreement

                          31.    Agents under the Prepetition ABL Facility and the Prepetition Term Loan

         Facility are also party to an Intercreditor Agreement, dated as of March 13, 2017 (as amended,

         restated, supplemented, or modified from time to time, the “Prepetition Intercreditor

         Agreement”), which sets forth the priorities of the two lender groups under the Prepetition ABL

         Facility and the Prepetition Term Loan Facility, with respect to the Collateral.

         B.         Unsecured Obligations

                          32.    In the ordinary course of operating their businesses, the Debtors purchase

         goods and services from thousands of trade creditors. As of the Petition Date, the Debtors

         estimate that they owe approximately $27.0 million to third-party trade creditors. Additionally,

         the Debtors are obligated to each other for certain intercompany obligations owing from one

         Debtor to another, plus intercompany international trade debt.

                                                      Part III

                                      EVENTS LEADING TO CHAPTER 11

         A.         Declining Sales

                          33.    From its inception in late 2013, Heritage’s sales have been heavily

         impacted by the negative effects of the Furniture Brands bankruptcy. Following years of sales
01:23390601.14
                                                          11
                       Case 18-11736-BLS         Doc 12     Filed 07/29/18     Page 12 of 23




         declines, many furniture retailers had lost faith in the ability of the Company to produce, deliver,

         and service its products, and the bankruptcy led many of them to shift their purchases to a variety

         of competitors or even further utilize their own private label offerings.

                        34.     In addition, the Company’s operations and performance depend

         significantly on economic conditions, particularly in the United States, and their impact on levels

         of existing home sales, new home construction, and consumer discretionary spending. Although

         economic conditions have been steadily improving in recent years, the Debtors have struggled to

         adjust to certain shifts in consumer lifestyles, which include: (i) lower home-ownership levels

         and more people renting; (ii) more apartment living and single-person households; (iii) older

         consumers that want to age in place; and (iv) cash-strapped millennials that are slow in forming

         households relative to prior generations.

                        35.     Consumer browsing and buying practices are rapidly shifting as well

         toward greater use of social media, internet- and app-based catalogs and e-commerce platforms,

         and the Company has been unable to develop a substantial sales base for its brands through this

         key growth channel.

                        36.     Furthermore, the residential furniture industry is highly competitive and

         fragmented. The Company competes with many other manufacturers and retailers, some of

         which offer widely advertised, well-known, branded products, and other competitors are large

         retail furniture dealers who offer their own private label products. This competitive landscape

         has proved challenging for some of the Company’s larger brands as well-capitalized competitors

         continue to gain market share at the expense of the Debtors.




01:23390601.14
                                                          12
                      Case 18-11736-BLS         Doc 12       Filed 07/29/18   Page 13 of 23




                        37.    In addition, the Company’s historically highly profitable contract business

         has suffered from a loss of orders and a loss of market share due to increased competition

         leading to unexpected operating losses in that segment since late 2017.

                        38.    The combination of these, as well as other, conditions resulted in continual

         year-over-year declines in the Company’s sales.

                        39.    The Company’s sales have decreased during recent earnings periods in

         comparison with prior year’s results, and sales are also down significantly versus projections.

         For the five-month period ended June 30, 2018, sales decreased 27% in comparison to June

         2017. The Debtors also missed their sales projections for the five months ended May 2018 by

         approximately 9.5% against their annual operating plan.

         B.      Operational Restructuring Actions

                        40.    Coming out of the bankruptcy in late 2013, Heritage embarked on a highly

         ambitious restructuring program that was intended to streamline the legacy Furniture Brands

         asset base, drive greater efficiencies in the Company’s supply chain and distribution, and

         eliminate excess layers of underperforming management. Given the continuing sales declines,

         however, the extent of the restructuring program was greatly expanded over time in an attempt to

         achieve profitability for the Company. Ultimately, Heritage reduced its cost structure by nearly

         $300 million through a combination of greater spending discipline and overhead, selling and

         general and administrative fixed cost reductions.

                        41.    In late 2017, following an extensive repositioning exercise to develop new

         identities, target customers, and product lines for each of Heritage’s brands, the Company

         underwent a further restructuring of the business into the three aforementioned business units—

         Thomasville & Co, Luxury Group and Broyhill—and designated the Lane and Lane Venture


01:23390601.14
                                                         13
                       Case 18-11736-BLS         Doc 12     Filed 07/29/18     Page 14 of 23




         businesses for divestiture. First, it sold the Lane business to United Furniture Industries, Inc.

         Second, Heritage sold the Lane Venture business to Bassett Furniture Industries, Inc. These

         transactions not only created additional liquidity for Heritage, but also reduced the complexity of

         the Company’s brand portfolio and sharpened its focus on the growth opportunities for its

         remaining brands. The Company’s hope was that the creation of these new business units would

         provide the focus and resources that the brands needed to efficiently respond to the specific

         demands of the Company’s customers in a fast-changing retail environment and secure the next

         phase of growth for the Company.

         C.      KPS’ Prepetition Efforts to Improve Company’s Liquidity Position

                        42.     KPS support for Heritage has been significant since its acquisition of the

         Company and instrumental in the Company’s ability to continue as a going concern to this point.

         From late 2015 through 2017, KPS invested significant incremental capital into the Company to

         provide additional liquidity in support of the operational restructuring efforts described above.

         Given the operational challenges described above, beginning in November 2013, KPS also

         voluntarily agreed to defer cash interest payments in the aggregate amount of $32.4 million on its

         Term Loans to the Company, accruing payment-in-kind rather than cash-pay interest, ensuring

         the Debtors had access to additional liquidity. In sum, this support, in the form of incremental

         capital and deferred cash-pay interest, totaled approximately $82.4 million.

                        43.     Furthermore, in March 2017, KPS, as Term Loan Lender, agreed to

         subordinate its first priority lien on substantially all non-working capital assets of the Debtors to

         the ABL Lenders’ liens and security interests (while retaining a second priority lien over

         substantially all of the assets of the Debtors), which provided the Company with more than $20

         million of incremental liquidity.


01:23390601.14
                                                          14
                         Case 18-11736-BLS       Doc 12      Filed 07/29/18   Page 15 of 23




         D.      Constrained Liquidity

                          44.   The Company’s most significant sources of liquidity consist of cash

         generated from working capital and borrowings under the Prepetition ABL Facility. However,

         as a result of continued declines in sales, the Company’s liquidity position has become severely

         constrained. As of the Petition Date, the Company’s available cash and cash equivalents totaled

         less than $500,000. Moreover, the Company no longer has any availability under the Prepetition

         ABL Facility.

                                                         Part IV

                 THE SALE OF THE BUSINESS UNITS AND POST-PETITION FINANCING

                          45.   In recent months, the Debtors have diligently evaluated, in consultation

         with their professionals, a number of options to address their financial issues. These efforts have

         included sharing information and engaging in discussions with the Debtors’ secured lenders with

         the goal of consensually restructuring the Debtors’ balance sheet to bring it into line with the

         Debtors’ current debt servicing capabilities.

                          46.   In November 2017, the Debtors retained Houlihan to investigate the

         Debtors’ operations and market their business units to viable parties who were interested in

         purchasing some or all of the Company as a going-concern business. Houlihan spent significant

         time with the Company’s management team, developing a full operating and integrated cash

         flow model, confidential information memorandum, electronic data site and management

         presentation.

                          47.   Commencing in February 2018, Houlihan initiated a sale process, and as

         of June 2018, Houlihan had contacted approximately 168 parties. Out of the contacted parties,

         approximately 90 parties executed a confidentiality agreement and were sent a confidential


01:23390601.14
                                                           15
                       Case 18-11736-BLS         Doc 12     Filed 07/29/18      Page 16 of 23




         information memorandum, and fifteen submitted offers. After significant discussions with, and

         further due diligence by, those parties that had submitted offers, the Debtors determined to

         proceed with Hickory Chair, LLC, a subsidiary of Rock House Farms (RHF), the parent

         company of Century Furniture (“Century”) regarding the sale of the Luxury Group, and a buyer

         of substantially all of the assets of the Broyhill and Thomasville & Co. businesses. The Debtors

         are continuing negotiations with the Broyhill and Thomasville & Co. buyer, and hope to execute

         an asset purchase agreement shortly after the filing of these cases.

                        48.     Since receiving the Century bid and a bid for the balance of the business,

         the Company continued discussions with PNC regarding the terms of additional financing so that

         they could have adequate funding to finalize the terms of potential sales of the Debtors’ business

         units.

                        49.     In consultation with the ABL Agent and the Term Loan Agent, the

         Debtors determined to file for chapter 11 protection to implement an orderly sales process

         pursuant to section 363 of the Bankruptcy Code. In conjunction therewith, the Debtors and

         Century finalized a form asset purchase agreement (the “Luxury APA”) setting forth a proposed

         disposition of the Luxury Group (the “Luxury Group Assets”), and the Debtors are near

         finalized on a form asset purchase agreement (the “Non-Luxury APA”) setting forth a proposed

         disposition of the Debtors’ remaining assets (the “Non-Luxury Assets” and together with the

         Luxury Group Assets, the “Target Assets”). The Debtors propose to have the Luxury APA and

         Non-Luxury APA serve as stalking horse bids to incentivize other parties to participate in an

         open, free, and fair auction process which the Debtors believe will derive the highest and best

         offers for the Target Assets. Although the Debtors believe that the bids for the Luxury Group

         Assets and the Non-Luxury Assets represent fair and reasonable offers for the Target Assets,


01:23390601.14
                                                          16
                       Case 18-11736-BLS         Doc 12     Filed 07/29/18     Page 17 of 23




         they remain receptive to alternative proposals that may ultimately maximize value for the

         Debtors’ estates. In light thereof, the Debtors believe that an auction process conducted pursuant

         to section 363 of the Bankruptcy Code will produce the highest and best offers for the Target

         Assets, and is the most efficient way to test the marketplace for such assets.

                        50.     To implement their planned sale process and preserve asset value during

         the pendency of the Chapter 11 Cases, the Debtors realized that they would require an infusion

         of new liquidity. In light of the existing liens on substantially all of the Debtors’ assets and the

         need for immediate liquidity, the Debtors’ existing lenders were the most practical and

         reasonable source of financing. Accordingly, to finance the Chapter 11 Cases, and provide

         sufficient liquidity to preserve the value of the Debtors’ assets while the sale process is pending,

         the Debtors negotiated the terms of debtor-in-possession financing to be provided by PNC. After

         extensive arm’s-length negotiations, PNC has agreed to provide the Debtors with the DIP

         Facility (defined below). PNC’s proposal should provide the Debtors with sufficient liquidity to

         conduct a fulsome and flexible sale process so that they may ultimately commence a competitive

         auction for the sale of the Debtors’ assets under section 363 of the Bankruptcy Code, and

         maximize the value of the Debtors’ estates.

                        51.     With respect to DIP financing, PNC has committed to enter into a senior

         secured priming debtor-in-possession credit facility (the “DIP Facility”) that will consist of a

         $98 million revolving loan commitment that will be used to refinance all outstanding obligations

         under the Prepetition ABL Facility and provide the Debtors with sufficient funding to sustain

         their operations during the Chapter 11 Cases. $25 million of this revolving commitment will be

         available immediately upon entry of an order of the Bankruptcy Court approving the DIP Facility

         on an interim basis.


01:23390601.14
                                                          17
                       Case 18-11736-BLS           Doc 12        Filed 07/29/18   Page 18 of 23




                         52.     Given their challenging financial position, the Debtors’ paramount goal is

         to maximize the value of their estates for the benefit of their creditor constituencies and other

         stakeholders. Following careful consideration of all alternatives, the Debtors have determined

         that implementation of the sale process pursuant to the terms set forth in the DIP Financing and

         the Luxury APA and, ultimately, the Non-Luxury APA represent the best way to maximize the

         value of the Debtors’ businesses. The Debtors anticipate that they will complete an auction

         within the next 60 days, and will close the sales of substantially all of their business units and

         remaining assets pursuant to the Luxury APA and Non-Luxury APA, or otherwise higher and

         better bids, within the next 75 days. I believe that implementing these transactions, following

         additional market-testing during the Chapter 11 Cases, will maximize the value of the Debtors’

         estates for the benefit of all of their stakeholders.

                                                         Part V

                     SUPPORT FOR RELIEF REQUESTED IN FIRST DAY MOTIONS

                         53.     Concurrently with the filing of their chapter 11 petitions, the Debtors filed

         a number of First Day Motions seeking relief that the Debtors believe is necessary to enable

         them to maximize the value of their estates while the Chapter 11 Cases are pending. The facts

         set forth in the First Day Motions are incorporated herein in their entirety. The Debtors request

         that the relief requested in each of the First Day Motions be granted as critical elements in

         ensuring that value is preserved as they transition into chapter 11.

                         54.     I have reviewed each of the First Day Motions, and the facts stated therein

         are true and correct to the best of my belief with appropriate reliance on corporate officers and

         advisors. The relief sought in each of the First Day Motions constitutes a critical element in the




01:23390601.14
                                                            18
                      Case 18-11736-BLS        Doc 12    Filed 07/29/18     Page 19 of 23




         successful implementation of the Debtors’ efforts to maximize creditor recoveries. To this end,

         Debtors have filed the following First Day Motions:


                              i.      Debtors’ Motion for an Order, Pursuant to Bankruptcy Rule 1015
                                      and Local Rule 1015-1, Authorizing the Joint Administration of the
                                      Debtors’ Chapter 11 Cases

                             ii.      Debtors’ Application for Entry of an Order Appointing Kurtzman
                                      Carson Consultants LLC as Claims Agent Effective as of the
                                      Petition Date

                            iii.      Debtors’ Motion for Interim and Final Orders Pursuant to Section
                                      366 of the Bankruptcy Code (i) Prohibiting Utility Companies from
                                      Altering, Refusing, or Discontinuing Utility Services, (ii) Deeming
                                      Utility Companies Adequately Assured of Future Performance,
                                      (iii) Establishing Procedures for Determining Additional Adequate
                                      Assurance of Payment, and (iv) Setting a Final Hearing Related
                                      Hereto

                            iv.       Debtors’ Motion for Entry of Interim and Final Orders, Pursuant
                                      to Sections 105(a), 363(b), 541, and 507(a)(8) of the Bankruptcy
                                      Code and Bankruptcy Rules 6003 and 6004: (i) Authorizing
                                      Debtors to Pay Prepetition Taxes and Fees; and (ii) Authorizing
                                      and Directing Banks and Financial Institutions to Honor and
                                      Process Checks and Transfers Related to Such Obligations

                             v.       Debtors’ Motion for Interim and Final Orders Authorizing (i) the
                                      Debtors to (a) Continue Prepetition Insurance Policies, (b) Pay All
                                      Prepetition Obligations in Respect Thereof, and (c) Continue
                                      Insurance Premium Financing Program, (ii) Debtors to Continue
                                      Surety Bond Program and Pay All Prepetition Obligations In
                                      Respect Thereof, and (iii) Banks to Honor and Process Related
                                      Checks And Transfers

                            vi.       Debtors’ Motion for Entry of Order, Pursuant to Sections 105(a),
                                      362, 363(b), 503(b)(1), 1107(a), and 1108 of the Bankruptcy Code
                                      and Bankruptcy Rules 6003 and 6004: (a) Authorizing Debtors to
                                      Continue (i) Customer Programs and Practices and (ii) Certain
                                      Prepetition Credit Card Obligations in the Ordinary Course of
                                      Business; and (b) Authorizing Financial Institutions to Honor and
                                      Process Checks and Transfers Related to Such Obligations

                           vii.       Debtors’ Motion for Entry of Interim and Final Orders
                                      Authorizing (i) Continued Use of Existing Cash Management


01:23390601.14
                                                        19
                      Case 18-11736-BLS           Doc 12    Filed 07/29/18     Page 20 of 23




                                         System, (ii) Continuation of Intercompany Transactions, and
                                         (iii) Continued Use of Existing Bank Accounts and Check Stock

                              viii.      Debtors’ Motion for Entry of Interim and Final Orders
                                         (i) Authorizing the Debtors to (a) Pay Prepetition Workforce
                                         Obligations and (b) Maintain and Continue Employee Wages and
                                         Benefits and Pay Related Obligations and (ii) Authorizing Banks
                                         and Financial Institutions to Honor and Process Related Checks
                                         and Electronic Transfers

                               ix.       Debtors’ Motion for Entry of Interim and Final Orders, Pursuant
                                         to Sections 105(a), 363, 503(b)(9), 1107(a) and 1108 of the
                                         Bankruptcy Code: (i) Authorizing the Debtors to Pay Certain
                                         Prepetition Claims of Lien Vendors, Foreign Vendors, Import
                                         Claimants, and 503(b)(9) Claimants; (ii) Authorizing Banks to
                                         Honor and Process Check and Electronic Transfer Requests
                                         Related Thereto; and (iii) Granting Certain Related Relief

                                x.       Debtors’ Motion for Interim and Final Orders (i) Authorizing the
                                         Debtors to (a) Obtain Post-Petition Financing and (b) Utilize Cash
                                         Collateral of Secured Parties, (ii) Granting Adequate Protection,
                                         (iii) Modifying the Automatic Stay, and (iv) Granting Related
                                         Relief, Pursuant to 11 U.S.C. Sections 105, 361, 362, 363(c), (d) &
                                         (e), 364(c), 364(d)(1), 364(e) and 507(b)

                        55.       It is my belief that the relief sought in each of the First Day Motions is

         necessary for a successful sale process and to maximize creditor recoveries. It is my further

         belief that, with respect to those First Day Motions requesting the authority to pay specific

         prepetition claims or continue selected prepetition programs, i.e. the First Day Motions seeking

         relief related to the Debtors’ obligations to their employees, taxing authorities, vendors, service

         providers, customers, banks, and insurers, the relief requested is essential to the Debtors’ sale

         efforts and necessary to avoid immediate and irreparable harm to the Debtors’ estates. The

         success of the Chapter 11 Cases depends upon the Debtors’ ability to maintain their operations

         and maximize estate value. The relief requested in the First Day Motions is a critical component

         of maintaining uninterrupted business operations and the confidence of key constituencies

         necessary to implement a successful restructuring.

01:23390601.14
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                       Case 18-11736-BLS         Doc 12     Filed 07/29/18     Page 21 of 23




                                                  CONCLUSION

                        56.     I believe approval of the relief requested in the First Day Motions is in the

         best interests of all stakeholders and respectfully request that the Court grant all relief requested

         in the First Day Motions and such other further relief as may be just.

                        I, the undersigned, declare under penalty of perjury that the foregoing is true and

         correct.

         Dated: July 29, 2018                         /s/ Robert D. Albergotti
                                                      Robert D. Albergotti
                                                      Chief Restructuring Officer




01:23390601.14
                                                          21
                 Case 18-11736-BLS   Doc 12   Filed 07/29/18    Page 22 of 23




                                       EXHIBIT A

                               Corporate Organizational Chart




01:23390601.14
                                                                               Case 18-11736-BLS                             Doc 12                Filed 07/29/18                     Page 23 of 23
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